           Case 2:13-cr-00212-KJD-PAL          Document 54       Filed 08/12/14      Page 1 of 2




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 6                                 UNITED STATES DISTRICT COURT

 7                                         DISTRICT OF NEVADA

 8 UNITED STATES OF AMERICA,                           )
                                                       )
 9                         Plaintiff,                  )
                                                       )
10          v.                                         ) 2:13-CR-212-KJD-(PAL)
                                                       )
11 WILLIAM STACK,                                      )
                                                       )
12                         Defendant.                  )
13                                      FINAL ORDER OF FORFEITURE

14           On January 7, 2014, the United States District Court for the District of Nevada entered a

15 Preliminary Order of Forfeiture pursuant to Fed. R. Crim. P. 32.2(b)(1) and (2) and Title 18, United

16 States Code, Section 924(d)(1), (2)(C), and (3)(A) and Title 28, United States Code, Section 2461(c)

17 based upon the plea of guilty by defendant WILLIAM STACK to the criminal offense, forfeiting the

18 property set forth in the Plea Agreement and the Forfeiture Allegations of the Criminal Indictment and

19 shown by the United States to have the requisite nexus to the offense to which defendant WILLIAM

20 STACK pled guilty. Criminal Indictment, ECF No. 1; Change of Plea, ECF No. 36; Plea Agreement,

21 ECF No. 37; Preliminary Order of Forfeiture, ECF No. 39.

22           This Court finds the United States of America published the notice of forfeiture in accordance

23 with the law via the official government internet forfeiture site, www.forfeiture.gov, consecutively

24 from January 17, 2014, through February 15, 2014, notifying all potential third parties of their right to

25 petition the Court. Notice of Filing Proof of Publication, ECF No. 44.

26 . . .
          Case 2:13-cr-00212-KJD-PAL            Document 54       Filed 08/12/14     Page 2 of 2




 1           This Court finds no petition was filed herein by or on behalf of any person or entity and the

 2 time for filing such petitions and claims has expired.

 3           This Court finds no petitions are pending with regard to the assets named herein and the time

 4 for presenting such petitions has expired.

 5           THEREFORE, IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that all right,

 6 title, and interest in the property hereinafter described is condemned, forfeited, and vested in the

 7 United States of America pursuant to Fed. R. Crim. P. 32.2(b)(4)(A) and (B); Fed. R. Crim. P.

 8 32.2(c)(2); Title 18, United States Code, Section 924(d)(1), (2)(C), and (3)(A) and Title 28, United

 9 States Code, Section 2461(c); and Title 21, United States Code, Section 853(n)(7) and shall be

10 disposed of according to law:

11                  1. a Smith & Wesson .45 caliber handgun, bearing serial number DYD7516; and

12                  2. any and all ammunition.

13          IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that any and all forfeited funds,

14 including but not limited to, currency, currency equivalents, certificates of deposit, as well as any

15 income derived as a result of the United States of America’s management of any property forfeited

16 herein, and the proceeds from the sale of any forfeited property shall be disposed of according to law.

17          The Clerk is hereby directed to send copies of this Order to all counsel of record and three

18 certified copies to the United States Attorney’s Office.

19                     12th day of May,
            DATED this ___         August, 2014.
                                        2014.

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                                                  UNITED STATES DISTRICT JUDGE
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